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                    Exhibit E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,

                                             Plaintiff,
                                                              Case No. 20-CV-10832 (AT)
          v.

 RIPPLE LABS INC., BRADLEY
 GARLINGHOUSE, and CHRISTIAN A.
 LARSEN,

                                          Defendants.


                          DECLARATION OF MARTHA MITCHELL

         I, Martha Mitchell, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.      I attest that an SEC eDiscovery search of 16 custodians identified by trial counsel

in this case was conducted and recovered from the SEC Enterprise Vault Journal Archive on

March 19, 2021 by SEC employee Valerie Vollmers. The emails recovered from the Journal

Archive have not been altered from the date of their receipt by SEC.

         2.     The search found the following number of results for external communications

(both incoming and outgoing): 29,754 using the search terms “Bitcoin” or “BTC”; 10,900 using

the search terms “Ether” or “ETH”; and 6,364 using the search terms “XRP” or “Ripple”.

         I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information and belief.
                                                          MARTHA Digitally  signed by
                                                                   MARTHA MITCHELL
Dated:          March 22, 2021                            MITCHELL Date: 2021.03.22
                                                                   14:28:44 -04'00'

                                                          Martha Mitchell
                                                          Management and Program Analyst
                                                          Enterprise Infrastructure
                                                          eDiscovery Task Lead
                                                          Office of the Chief Information Officer
                                                          U.S. Securities and Exchange Commission
